        3:20-cr-30012-SEM-TSH # 1   Page 1 of 3                                     E-FILED
                                SEALED
                  UNITED STATES DISTRICT COURT
                                                  Wednesday, 05 February, 2020 03:12:24 PM
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                                                              Clerk, U.S. District Court, ILCD


                                                                      FEB O5 2020
                   CENTRAL DISTRICT OF ILLINOIS
                      SPRINGFIELD DIVISION                      CLERK OF THE COURT
                                                                 U.S. DISTRICT COURT
                                                             CENTRAL DISTRICT OF ILLINOIS
UNITED STATES OF AMERICA,              )
                                       )
     Plaintiff,                        )

         V.                            ~   CRIM. NO. 20- 6 D01l.
                                       )
KRISTIAN BOTTOMS,                      ) VIO: 21 U.S.C. §§ 841(a)(l),
                                       ) (b )( 1)(B) .
     Defendant.                        )


                                INDICTMENT

THE GRAND JURY CHARGES:

                           COUNT ONE
  (Distribution of 5 Grams or More of Methamphetamine (Actual))

     On or about December 10, 2019, in Sangamon County, in the

Central District of Illinois,

                           KRISTIAN BOTTOMS,

the defendant herein, knowingly and intentionally distributed 5

grams or more of methamphetamine (actual), a Schedule II

controlled substance.

     All in violation of Title 21, United States Code, Sections

841(a)(l) and (b)(l)(B).
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                           COUNT TWO
  (Distribution of 5 Grams or More of Methamphetamine (Actual))

     On or about December 11, 2019, in Sangamon County, in the

Central District of Illinois,

                           KRISTIAN BOTTOMS,

the defendant herein, knowingly and intentionally distributed 5

grams or more of methamphetamine (actual), a Schedule II

controlled substance.

     All in violation of Title 21, United States Code, Sections

841(a)(l) and (b)(l)(B).

                           SPECIAL FINDINGS

     In connection with the offenses set forth in Counts One and

Two of this Indictment, the following factors are relevant to

determining the sentence of the defendant, KRISTIAN BOTTOMS,

pursuant to Title 21, United States Code, Section 851.

     1. The defendant was convicted of Possession of

        Methamphetamine Manufacturing Materials in Sangamon

        County Illinois Circuit Court Case No. 2004-CF-763, a

        Serious Drug Felony offense, and as a result:

           a. The defendant faced a possible sentence of 10 years or

              more of imprisonment;

                                    2
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               b. The defendant served a term of imprisonment of more

                      than 12 months; and

               c. The defendant was released from imprisonment within

                      15 years of the commencement of the offenses alleged

                      in Counts One and Two of this Indictment.



                                             A TRUE BILL,
                                              s/ Forepreson
                                                                      V

                           '\

s/ John C. Milhiser
L,,,
JefHN C. MILHISER
UNITED STATES ATTORNEY
MZW




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